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                                                October 25, 2024
VIA ECF
Hon. Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:        Cisneros et al. v. Borenstein Caterers, Inc. et al.
                  Civil Case No. 1:23-cv-01409

Dear Judge Matsumoto,

       This firm represents Defendants Borenstein Caterers, Inc. (“Borenstein” or the
“Company”) and Gilad Hachmon (“Hachmon”) (collectively, “Defendants”) in the above-
referenced action (the “Action”). We write jointly with counsel for Plaintiffs Eddy O. Cisneros
(“Cisneros”) and Daniel J. Garza (“Garza”) (collectively, “Plaintiffs”) (Plaintiffs and Defendants,
the “Parties”) to address certain deficiencies in the Parties’ motion for approval of their proposed
settlement agreements (the “Cheeks Letter”) (Dkt. No. 25), as identified by the Court in the Order
denying the Cheeks Letter without prejudice (the “Order”) (Dkt. No. 27).

       I. Evidence Supporting Plaintiffs’ Assertions.
        As stated in the Cheeks Letter, Plaintiffs initially estimated that Cisneros’ potential
recovery at trial is approximately $125,000.00, and that Garza’s potential recovery is
approximately $115,000.00, both inclusive of liquidated damages and interest but exclusive of
attorneys’ fees. See Cheeks Letter, p. 2. In the Order, the Court stated that the Parties’ Cheeks
Letter was deficient because the Parties failed to provide evidence supporting Plaintiffs’ assertions
with respect to the aforementioned alleged damages.

        The alleged damages included in the Cheeks Letter were based merely upon Plaintiffs’
estimates. Defendants had prepared and now provide for the Court’s consideration damages
calculations for Plaintiffs, annexed hereto as Exhibit A. These damages calculations were
calculated using Defendants’ undisputed time records and paychecks for Plaintiffs, and lay out the
maximum potential damages that Plaintiffs could recover, if they were to prevail at trial. As
outlined in the spreadsheet:

       -     If Cisneros were to prevail at trial, he may be entitled to a total of $47,266.38 in alleged
             unpaid wages, $47,266.38 in liquidated damages arising from the alleged unpaid
             wages, $10,000.00 in statutory damages for the alleged wage statement and payroll
             notice violations, and $21,095.05 in prejudgment interest, for a grand total of
             $125,627.80, exclusive of attorneys’ fees.
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        -      If Garza were to prevail at trial, he may be entitled to a total of $26,974.25 in alleged
               unpaid wages, $26,974.25 in liquidated damages arising from the alleged unpaid
               wages, $10,000.00 in statutory damages for the alleged wage statement and payroll
               notice violations, and $12,035.32 in prejudgment interest, for a grand total of
               $75,983.81, exclusive of attorneys’ fees.

        As set forth in the Cheeks Letter, under the terms of the proposed settlement agreement
resolving Cisneros’ claims (“Cisneros Proposed Settlement Agreement”), the Parties agreed to
resolve Cisneros’ claims for the total amount of $88,750.00, of which $80,000.00 will be paid to
Cisneros. Cisneros’ recovery represents approximately 169% of his alleged unpaid wages or 64%
of his total potential damages. Under the terms of the proposed settlement agreement resolving
Garza’s claims (“Garza Proposed Settlement Agreement”), the Parties agreed to resolve Garza’s
claims for the total amount of $68,750.00, of which $60,000.00 will be paid to Garza. Garza’s
recovery represents approximately 222% of his alleged unpaid wages or 79% of his total potential
damages.

         The Parties posit that the amounts Plaintiffs are set to recover under the Proposed
Settlement Agreements are fair and reasonable to the Plaintiffs, considering, inter alia, the
litigation risks should this case proceed to further litigation.

        II.       Attorneys’ Fees.
        As set forth in the Cheeks Letter, Plaintiffs’ counsel requests fees of $17,500.00 – or
approximately 11% - out of the $157,500.00 settlement for both Plaintiffs. See Cheeks Letter, p.
3. In the Order, the Court notes that the amount of attorneys’ fees sought by Plaintiffs’ counsel is
“considerably less than what is routinely approved by courts in this district” but denied the
application for attorneys’ fees nonetheless, because the Cheeks Letter failed “to offer any
supporting documentation to allow the Court to ensure the reasonableness of the attorneys’ fees.”
See Order, p. 10.

        Pursuant to the Order, Plaintiffs’ counsel now provides an Affirmation of Legal Services,
annexed hereto as Exhibit B; billing records for Plaintiffs’ counsel’s work and fees incurred in this
matter, annexed hereto as Exhibit C; and Retainer Agreements entered into between Plaintiffs and
Plaintiffs’ counsel, annexed hereto as Exhibit D. Based on the foregoing, Plaintiffs’ counsel avers
that the $17,500.00 in attorneys’ fees sought are fair and reasonable.

        III.      Conclusion.

         Given the foregoing, and the fact that the Court previously found that all other provisions of the
Proposed Settlement Agreements are “fair and reasonable”, the Parties respectfully renew their request
for the Court to approve the Cisneros Proposed Settlement Agreement and Garza Proposed Settlement
Agreement, and dismiss this Action in its entirety.
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Respectfully submitted,

ELLENOFF GROSSMAN & SCHOLE LLP



Amanda M. Fugazy, Esq.
Nicola Ciliotta, Esq.
